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           EXHIBIT A
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      How to Access ‘Seed’ and ‘Airdrop’ ICP Tokens
      and Participate in the Internet Computer
      Network
                  DFINITY       Follow
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      Instructions for seed contributors and airdrop registrants to begin utilizing tokens to develop
      dapps and participate in network governance.




      A          fter many years of hard work by hundreds of people around the world, the
                 DFINITY Foundation is proud that on May 10, 2021, the Internet Computer
      blockchain is transitioning into its public phase. It will be the first blockchain that can
      host websites, systems, internet services, and financial systems that are built entirely
      from smart contracts, without any need for supporting private systems. Cloud services
      are no longer needed to create dapps, for example, and cloud services are also not

https://medium.com/dfinity/how-to-access-seed-and-airdrop-icp-tokens-and-participate-in-the-internet-computer-network-e6cd663a0c3c                1/4
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      involved in the Internet Computer’s underlying network. On the Internet Computer,
      advanced smart contracts run at web speed, can serve web applications, are efficient,
      and can make use of unbounded, on-chain, internet-scale compute capacity.

      This would not have been possible without the DFINITY Foundation team, outside
      contributors, those who contributed financially, and supporters who have kept the faith
      during the many years of work that were necessary to bring the project to this stage —
      and we extend our sincerest thanks to everybody involved. The Internet Computer
      network shall now continue to evolve under the control of the Network Nervous System,
      its completely open, tokenized governance system.

      Genesis Unlock occurs on Monday, May 10, 2021, at 9 am Pacific Time/6 pm Central
      European Time. This will start the process through which participants in the February
      2017 Seed fundraiser and the summer 2018 Airdrop community distribution can claim
      their ICP tokens.

      Both Seed donors and Airdrop participants must pass through AML/KYC procedures.
      The good news is that the procedures are relatively streamlined, and it often may only
      take a few minutes to pass such verification procedures.

      ICP are utility tokens that have two primary roles:

         1. They enable participation in governance. You can stake them inside the Network
            Nervous System (NNS) by locking them inside “voting neurons.” Voting neurons
            earn voting rewards. They can be made to vote manually, or configured to vote
            automatically by following other neurons, in a liquid democracy scheme. The
            Network Nervous System exerts the will of the community, mediated through
            algorithms. The more value staked inside the governance system, the greater the
            security of the network.

         2. ICP can be converted into “cycles” by the Network Nervous System. This is the only
            way to create cycles, which provide fuel for computation, and can be used in other
            ways too. The NNS will convert ICP worth 1 SDR into exactly 1 trillion cycles.

      It is very important that the flow of liquid ICP tokens around the network is released on a
      schedule for the safety and security of ICP holders, the network, and its users while the
      underlying technology is being fettled and its ecosystem is being established.
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      Airdrop participants will therefore receive their ICP tokens in 12 equal monthly
      installments, which will be delivered via their CoinList Wallets. Their first allotment will
      arrive on or very shortly after Genesis Unlock (when the relevant administrative systems
      have been placed in motion). Participants will have the ability to transfer distributed
      tokens to the wallets for their choosing or the NNS to participate in governance.

      Meanwhile, Seed donors will receive all of their ICP tokens at Genesis Unlock, but these
      will be staked inside 49 voting neurons within the NNS. Each neuron that is delivered
      will have a different “dissolve delay” configured by the NNS. This configures the
      minimum period required to unlock the ICP tokens staked inside. One of their neurons
      will have a dissolve delay of 0 days, allowing the staked ICP tokens to be unlocked
      immediately, if desired (subject to applicable AML/KYC verification). Another will have
      a dissolve delay of approximately 30 days, another of 60 days, another of 90 days, and so
      on.(Note: Configured dissolve delays may have some small random number of days
      added or subtracted by the NNS).

      If you are a Seed donor, your neurons have already been created by the NNS and are
      controlled by the Ethereum key that you used to make donations to the DFINITY
      Foundation in February 2017 (i.e., the seed phrase you were asked to save). The
      neurons of Seed donors will immediately start earning voting rewards for their owners
      because the NNS has configured them to follow other neurons and vote automatically.
      Of course, they can be reconfigured to vote manually or to follow other neurons to vote
      automatically in a different way, as desired. Each of these Seed neurons has had their
      “age” preset to 18 months by the NNS. This is important because the voting power and
      voting rewards received by a neuron increase with age. Whenever a neuron is placed
      into dissolve mode, for even a second, then its age is reset to zero, losing this advantage,
      and so dissolving a neuron requires some thought.

      Seed donors will have immediate control of their neurons — they can reconfigure them,
      participate in governance to earn rewards, or immediately set them to dissolve so that
      they can recover the staked ICP tokens inside. However, until Seed donors have passed
      the AML/KYC procedures, even once they have dissolved a neuron, they will not be able
      to disburse the ICP tokens staked inside — for example, by disbursing to an ICP ledger
      address. (When a Seed donor passes these procedures, the DFINITY Foundation will



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      submit a proposal to the NNS that will mark their neuron as verified if the proposal is
      adopted, and then the Seed donor will be able to disburse unlocked ICP tokens.)

      If you are a Seed donor, because your neurons are controlled by your original Ethereum
      key, they cannot be accessed using an Internet Identity yet (e.g., via the NNS front-end
      dapp). Instead, you must access your neurons using DFX command-line tools. People are
      currently looking into possible ways to integrate these Ethereum keys with Internet
      Identity. Always use an expert to help you when using command line tools, and take
      things carefully and slowly.

      Here are the instructions:

      A. Seed Donation Token Distribution: sdk.dfinity.org/docs/token-holders/seed-
      donations.html

      B. DFINITY Community Airdrop Instructions: coinlist.co/dfinity
      You can also find answers to frequently asked questions.

      For all other token recipients, monitor your email for instructions on access.



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